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Hon. Judge Gregory H. Woods
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007-1312


          Re:        Sheila Biglang-Awa, an individual v. Hermés of Paris, Inc.
                     Case No. 18-CV-01646_____________________

Dear Judge Woods:

We represent Defendant Hermés of Paris, Inc. (“Hermés”) in the above captioned matter.
Pursuant to Your Honor’s Individual Practice Rule 1(E), we write to submit this request for a 30-
day extension of time for Defendant Hermés to answer, move, or otherwise respond to Plaintiff’s
Complaint, from March 27, 2018 to April 26, 2018. There have been no prior requests for the
relief sought herein. This extension is sought because Hermés only received the Complaint two
days ago, on March 20, 2018, following its service on the New York Secretary of State (which
was effected on March 6, 2018), and therefore requests the additional time to allow it to
investigate the allegations contained in the Complaint. Plaintiff’s counsel consents to Hermés’
request. As proposed here, Defendant Hermés would answer, move, or otherwise respond to
Plaintiff’s Complaint on April 26, 2018.

This request is not intended as, and should not be construed as, a waiver of Defendant’s right to
assert any and all defenses in this matter, including but not limited to lack of personal
jurisdiction, lack of service, and all other jurisdictional defenses.

We thank the Court for its consideration of this matter.

Respectfully submitted,


___/s/ Daryl G. Leon_________
Daryl G. Leon

cc: All Counsel (via ECF)




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